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                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF NEW YORK


IN RE TURQUOISE HILL RESOURCES LTD.         Case No. 1:20-cv-08585-LJL
SECURITIES LITIGATION



 MEMORANDUM OF LAW IN SUPPORT OF LEAD PLAINTIFF’S MOTION FOR
    ISSUANCE OF LETTERS OF REQUEST PURSUANT TO THE HAGUE
   CONVENTION ON THE TAKING OF EVIDENCE ABROAD IN CIVIL OR
          COMMERCIAL MATTERS DATED MARCH 18, 1970
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                                 PRELIMINARY STATEMENT

        Plaintiffs and Defendants agree that Richard Bowley and Maurice Duffy are significant

witnesses in this action. Both Mr. Bowley and Dr. Duffy blew the whistle to senior Rio Tinto

executives on the undisclosed cost overruns and schedule delays at Oyu Tolgoi that are at the heart

of this action, and both are mentioned repeatedly in Plaintiffs’ Second Amended Complaint and in

the Court’s Opinion and Order denying in part Defendants’ motions to dismiss that Complaint.

The parties also agree that obtaining relevant documents and testimony from them is appropriate

and necessary.

        Unlike Defendants’ proposed letters of request for these witnesses, which Plaintiffs oppose

in a brief filed simultaneously with this motion, Plaintiffs’ proposed letters of request accurately

and fairly describe Plaintiffs’ claims and Mr. Bowley’s and Dr. Duffy’s significance as witnesses,

and seek all the documents and testimony from these witnesses that are necessary and appropriate

for both sides in this action. Also unlike Defendants’ proposed letters of request, Plaintiffs’

proposed letters of request do not seek material that is irrelevant and disproportionate to the needs

of the litigation. Plaintiffs and Defendants met and conferred after Defendants filed their motions

for issuance of letters of request but were unable to agree on joint proposed letters of request.

Plaintiffs respectfully submit that the Court should issue Plaintiffs’ proposed letters of request.

                                            ARGUMENT

        U.S. courts routinely issue letters of request under the Hague Convention, 28 U.S.C.

1781(b)(2), and Rule 28(b)(2) for parties to take discovery in the United Kingdom. Moreover, as

Defendants state in their motion, “[c]ourts in the United States recognize that analysis regarding

the enforceability of the request in the foreign court [is] ‘best left to the judicial authorities in the’

foreign court, and the U.S. court asks only whether the discovery sought is consistent with the
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discovery principles of Rule 26 of the Federal Rules of Civil Procedure. Pearlstein v. BlackBerry

Ltd., 332 F.R.D. 117, 122 (S.D.N.Y. 2019).” ECF No. 212, at 3.

I.      PLAINTIFFS’ PROPOSED LETTERS OF REQUEST FAIRLY AND
        ADEQUATELY DESCRIBE THIS ACTION AND THE WITNESSES

        Letters of request are not parties’ briefs or other argumentative matter; they are official

requests by this Court to a foreign court. They should adequately inform the foreign court about

why this Court is asking it to act, and they should be strictly accurate and impartial. See Pearlstein,

332 F.R.D. at 122 (revising party’s proposed letter of request in light of “the Court’s interest in

ensuring the request is neutral as to the merits of this case”); Lodestar Anstalt v. Bacardi & Co.,

2018 WL 4696966, at *4 (C.D. Cal. June 25, 2018) (“[A] letter of request . . . should not contain

overly argumentative statements. A letter rogatory is a direct communication from the courts of

one country to the courts of another. [B]ecause the letter rogatory constitutes a request from the

Court for assistance, not from a party, care should be taken to ensure that the synopsis of the case

is not unduly argumentative, or state or suggest that the Court has reached factual conclusions at

this stage of the proceedings.) (citations and quotation marks omitted)). Plaintiffs’ proposed letters

of request satisfy this test.

        First, unlike Defendants’ proposed inadequate, barebones summary of Plaintiffs’ claims

under Section 10(b) and 20(a) of the Exchange Act, Plaintiffs’ proposed letters of request

succinctly but adequately summarize the Complaint’s detailed factual allegations concerning Mr.

Bowley and Dr. Duffy. See Blatchley Dec. Ex. A, at 6-9; Blatchley Dec. Ex. B, at 6-9. Plaintiffs’

proposed summaries of the allegations concerning their claims and each of the two witnesses are

necessary to adequately inform the English court about why these witnesses are significant in this

action. This is important because the English court will scrutinize the letters of request to determine

whether to enforce them. Moreover, the English court has the option of ordering that any



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depositions of the witnesses be conducted before an independent Official Examiner. Thus, it is

important for the letters of request to adequately inform both the English court and any Official

Examiner that court may appoint about the reasons why these witnesses matter to this case, and

Plaintiffs proposed letters of request do so.

       Second, unlike Defendants’ unduly argumentative and prejudicial proposed letters of

request, Plaintiffs’ proposed letters of request base their descriptions of Plaintiffs’ claims and of

the witnesses entirely on the Complaint’s well-pleaded allegations and this Court’s Opinion and

Order on the motions to dismiss. There is no unduly argumentative or prejudicial material in

Plaintiffs’ proposed letters of request.

II.    PLAINTIFFS’ PROPOSED LETTERS OF REQUEST SEEK MATERIAL THAT
       IS RELEVANT AND PROPORTIONATE TO THE NEEDS OF THIS CASE

       Plaintiffs’ proposed discovery requests and deposition topics for both witnesses seek

information that is relevant and proportional to the needs of this case under Rule 26. Moreover,

Plaintiffs’ proposed letters of request seek all the evidence from these witnesses that both sides

need to seek to prove their respective claims and defenses.

       In particular, Plaintiffs’ proposed letters of request seek important relevant evidence that

Defendants’ proposed letters of request fail to include. Those materials include documents and

testimony concerning Rio’s efforts to destroy documents concerning the evidence Dr. Duffy’s firm

had collected concerning reports of ethical violations and overstatements and concealment of cost

overruns and delays at Oyu Tolgoi. See ECF No. 127 ¶ 288; Plaintiffs’ Duffy Request No. 3. They

also include Mr. Bowley’s communications with Greg Field, David Hume, and Grant Brinkmann

that were detailed in the Complaint and include important evidence of Defendants’ knowledge of

the cost overruns and schedule delays at Oyu Tolgoi. See, e.g., ECF No. 127 ¶¶ 179-83; Plaintiffs’




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Bowley Request No. 6. Thus, Plaintiffs’ proposed letters of request seek evidence going to the

core issues in the case that Defendants omitted from their proposed letters of request.

       Plaintiffs’ proposed letters of request and deposition topics also include substantially all of

the requests and topics proposed by Defendants, with the exception of a few items that are

inappropriate for the reasons discussed in Plaintiffs’ opposition to Defendants’ motions: testimony

concerning Mr. Bowley’s consulting work for the Mongolian Government, documents relating to

his Witness Statement to the U.K. Employment Tribunal, documents concerning both witnesses’

communications with Lead Plaintiff and an absent Class member, documents concerning the

relative values of Dr. Duffy’s Rio contract and other contracts, and testimony concerning Dr.

Duffy’s mining and geology expertise. See Lead Plaintiff’s Opposition Brief, at 6-8. Thus,

Plaintiffs’ proposed letters of request cover all the evidence that both sides are reasonably entitled

to.

                                         CONCLUSION

       Plaintiffs’ proposed letters of request would fairly and adequately inform the English court

of the bases for the requests and would provide both sides in this action with all the discovery from

Mr. Bowley and Dr. Duffy that is appropriate for the parties to have for their respective claims and

defenses. Plaintiffs’ motion should therefore be granted.




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Dated: March 2, 2023                  Respectfully submitted,


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